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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                        HAMMOND DIVISION AT LAFAYETTE


JAMES LARKIN,                             )
                                          )
         Plaintiff,                       )
                                          )
         v.                               )     CASE NO. 4:18-cv-00065-JVB-JEM
                                          )
JEFFREY ARMSTRONG,                        )
MICHAEL BACH,                             )
CALVIN BRADFORD,                          )
EVIN EAKINS,                              )
ANDREW KRAUSE,                            )
TIM RYAN, and                             )
GEOFFREY TALBOT                           )
                                          )
         Defendants.                      )

                       Declaration of Captain Jeffrey Armstrong
         I, Jeffrey Armstrong, am an adult competent to testify who has personal

knowledge of the following and declare under penalty of perjury:

         1.       I am currently employed by the Indiana Department of Correction as a

Captain at the Westville Correctional Facility, overseeing the Industrial Complex.

         2.                                      s cell extraction, in April 2018, I was a

lieutenant in the Westville Control Unit, which is the maximum security unit for

Westville Correctional Facility. I was also the field commander for the emergency

squad         -       . Part of my duties as E-squad field commander involved

observing cell extractions to be ready to request activation of the E-squad and direct

the E-                                                           the extraction.




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        3.                                                                 in the control

room in the center of the pod, around 20 yards away from his cell.                  the

name for a floor of the Control Unit. It is called a pod because the rooms on the floor

are organized in an octagon shape, surrounding the control room in the middle.

        4.    I witnessed one of the cell extraction team members administer three



submit to mechanical restraints. Prior to every cell extraction, offenders are given

opportunities to comply with orders to submit to mechanical restraints before the

officers escalate the use of force to a cell extraction.

        5.    I did not have a clear view of Offender Larkin or the cell extraction

team                                                       extraction. The cells in the

Control Unit are small,

in Of                      from where I was standing.

        6.    I did not see or hear the team do anything improper or that would violate

the cell extraction protocol. I did not order the cell extraction team to stop doing

anything or otherwise intervene because I could not see or hear anything

inappropriate happening.




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